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U.S. Magistrate Judge Paula L. McCandlis

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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, NO. MIJ18-553
Plaintiff COMPLAINT FOR VIOLATION
21 U.S.C. §§ 841(a)(1), (b)(1)(B)
v. | 18 U.S.C. § 924(c)
GIZACHEW WONDIE
Defendant.

 

 

 

 

BEFORE, Paula L. McCandlis, United States Magistrate Judge, U. S. Courthouse,
Seattle, Washington.

COUNT 1

(Possession of Controlled Substances with Intent to Distribute)

On or about December 6, 2018, at Seattle, Washington within the Western District

of Washington and elsewhere, the defendant, GIZACHEW WONDIE, did knowingly
and intentionally possess, and did aid and abet the possession of, with intent to distribute,
substances controlled under Title 21, United States Code, to wit: alprazolam, cocaine,

oxycodone, adderall and marijuana.

COMPLAINT/WONDEE - 1 UNITED STATES ATTORNEY
MJ18-553 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
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All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(C)

and 841(b)(1)(D) and Title 18, United States Code, Section 2.

| COUNT 2 -

(Possession of a Firearm in Furtherance of Drug Trafficking)

On or about December 6, 2018, at Seattle, Washington, within the Western Judicial
District of Washington, GIZACHEW WONDIE did knowingly possess, and did aid and
abet the possession of, a firearm, to wit one Ruger P89DC 9mm pistol, serial number
309-80997, in furtherance of a drug trafficking crime, to wit: Possession of Controlled
Substances with Intent to Distribute, as charged in Count | above.

All in violation of Title 18, United States Code, Sections 924(c)(1)(A)() and 2.

This Complaint is based upon the following information:

I, TAMMY SPENCER, a Special Agent (SA) with Homeland Security
Investigations (HSI), United States Department of Homeland Security (DHS), Seattle,
Washington, being first duly sworn on oath, depose and say:

INTRODUCTION |

1. Iam a “law enforcement officer of the United States” within the meaning of
Title 18, United States Code, Section 2510(7). Specifically, I am a Special Agent (SA)
with the United States Department of Homeland Security (DHS), Immigration and
Customs Enforcement (ICE), assigned to the Homeland Security Investigations (HSI),
Special Agent in Charge, Seattle, Washington. I have been an HSI Special Agent ora
Special Agent with one of ICE’s predecessor agencies, the U.S. Customs Service, since
April 1998. Since entering on duty, I have investigated a wide variety of criminal
violations to include narcotics trafficking, money laundering, wire fraud, commercial
fraud, intellectual property crimes, smuggling, illegal exports, counter-proliferation
violations, child pornography, and other crimes. I am currently assigned to HIDTA
(High Intensity Drug Trafficking Activity Task Force) where my duties include |
investigating individuals who are involved in the trafficking of illegal substances. I am

familiar through experience with how drug users and traffickers use, sell, conceal and

COMPLAINT/WONDIE - 2 UNITED STATES ATTORNEY
MJ18-553 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
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transport controlled substances. J have also been involved in numerous search warrants,
narcotics buy/bust operations and narcotics arrests.

2. The facts set forth in this Affidavit are based on my own personal
knowledge; information obtained from other individuals during my participation in this
investigation, including other law enforcement officers; review of documents and records
related to this investigation; communications with others who have personal knowledge
of the events and circumstances described herein; and information gained through my
training and experience.

3. Because this Affidavit is submitted for the limited purpose of establishing
probable cause in support of a criminal complaint, it does not set forth each and every
fact that I, or others, have learned during the course of this investigation.

4. For the purposes of this Affidavit, “Xanax” refers to pills matching the
shape and appearance of either name-brand Xanax (which is produced by Pfizer and
contains Alprazolam as its active ingredient) or generic versions of Alprazolam produced
by Pfizer or other drug companies; these pills can either be genuine pharmaceutical pills
produced by a legitimate prescription drug manufacturer or pills that are illicitly produced
by individuals using a pill press machine. During the course of this investigation J—
along with members of my investigative team—have worked with representatives of
Pfizer who are trained in the identification of these pills. These representatives have
relayed to me that generally even the “counterfeit” Xanax pills contain the “API” (Active
Pharmaceutical Ingredient) of Alprazolam and are sold to drug abusers seeking the
pharmaceutical effects of Xanax/Alprazolam. Xanax/Alprazolam is a common drug of
abuse and is a highly controlled substance due to the fact that its tranquilizing affect can
cause paranoia and suicidal ideation as well as the impairment of judgment, memory, and
coordination. When combined with other substances, it can slow breathing and possibly
lead to death. By law, Xanax as well as Alprazolam sold under any brand or generic

name is only legally available when prescribed.

COMPLAINT/WONDIE - 3 UNITED STATES ATTORNEY
MJ18-553 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
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5. Based on the information provided by Pfizer brand representatives as well
as my conversations with other investigators, I know that the illicit sale of Xanax is
highly profitable as these pills can be sold for between $3 and $7 at “wholesale” to other
dealers when sold by the hundreds or thousands and up to $20 each to drug addicts as
individual pills. The illicit sale of Xanax tablets is at its most profitable when a drug
trafficker is able to produce the pills him/herself in mass quantities with the use of a pill
press. Using a pill press, an individual is able to covert one kilogram of API (costing
approximately $20,000) into 500,000 Xanax tablets. |

INVESTIGATION — SUMMARY OF PROBABLE CAUSE
A. HSI Investigation

6. During the first week of October 2018, HSI special agents and investigative
partners conducted operations targeting pharmaceutical traffickers operating in Seattle,
Washington. In early October, 2018, HSI agents arrested a suspect (hereinafter “S1’’)
who agreed to meet an undercover agent at a preplanned meeting location to sell 20
Xanax pills for $200. S1 did not actually have Xanax in his possession at the time of his
arrest (he stated that he was planning on robbing his customer instead). $1 was however
in possession of distributable quantities of heroin. $1 agreed to cooperate in exchange
for consideration related to this arrest and communicated information related to the

manufacturing and sale of illicit drugs, to include the following, relayed in substance and

in part:
a. S1 stated that he is heavily involved in the manufacturing of counterfeit
Xanax tablets for sale.
b. S1 stated he is helping to build a pill press machine with an African male

he only knows as “G” from Beacon Hill.

c. S1 stated the rotary (the last part of the pill press machine) from China was
seized by Customs and Border Protection (CBP) when it arrived into the
U.S. I later discovered, via CBP, information that corroborated this
statement.

COMPLAINT/WONDIE - 4 UNITED STATES ATTORNEY
MJ18-553 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
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d. S1 stated he and “G” had a storage unit in Kent where the pill press
machine parts were being kept, but after the last shipment was seized by
CBP they stopped renting the storage unit.

7. Based on the investigation, which is detailed in part below, I identified “G”
as the Defendant, Gizachew Degol WONDIE of Seattle, Washington. Furthermore,
based on a review of Washington Department of Licensing records, HSI special agents
determined WONDIE drives a silver Audi Q7, Washington license BHT4427
(hereinafter, the Audi).

8. On November 14, 2018, HSI special agents learned that a concerned citizen

in Seattle had filed a complaint with the Seattle Police Department (SPD) about alleged

.drug activity involving WONDIE’s vehicle, the Audi. On November 16, 2018, HSI

Supervisory Special Agent (SSA) Marco Dkane and I conducted a telephonic interview
of the concerned citizen. The concerned citizen provided the following information,
relayed in substance and in part:

a. Starting at the beginning of this year, s/he observed the Audi from his/her
apartment window in the alleyway between 11 Avenue/12" Avenue and E
Terrace Street/E Alder Street in the Capitol Hill district of Seattle conducting drug
transactions,

b. After the local businesses closed, the silver Audi would pull into the alley; nice
cars would then also pull up close to the Audi, and the occupant of the other car
would either get into the Audi, or make exchanges through the car windows. The
exchanges took place mostly at night or during the afternoon. S/he would see
something being passed between individuals and cars. The transactions took about
a minute.

c. The driver of the Audi appeared to be an African male with short hair, well-
dressed and in his 30’s. (Based upon my surveillances of WONDIE, this is
consistent with WONDIE’s appearance). It was the same driver who showed up
in the Audi every time.

d. Since September, s/he has not seen any more drug activity and has not seen the

driver of the Audi.
COMPLAINT/WONDIE - 5 UNITED STATES ATTORNEY
MJ18-553 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
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9. I know, based on my training and experience, that the type of short
interactions described by the concerned citizen are characteristic of drug trafficking
activity.

10. Beginning on November 5, 2018 and continuing through December 6,
2018, SSA Dkane, acting in an undercover capacity, conducted a text correspondence
with WONDIE. SSA Dkane initiated these communications via WONDIE’s Face Book
account in the name of “Gizachew WONDIE.” During the course of this
correspondence, wherein SSA Dkane represented himself to be a female, WONDIE
relayed information to include the following:

a. WONDIE stated "something like that :)" when SSA Dkane asked if he had
his own gun;

b. WONDIE stated he lives in Capitol Hill by Central College;

c. WONDIE stated that he has "a few" guns in response to SSA Dkane’s
question;

d. WONDIE sent SSA Dkane pictures of small amounts of cocaine.
B. King County Sheriff's Office (KCSO) Investigation
11. Onor about November 20, 2018, HSI special agents learned that WONDIE

was being separately investigated by KCSO for a homicide. KCSO believed WONDIE
was in possession of the murder weapon, which was a firearm registered to him.

12. Based upon the initial investigation of WONDIE, officers believed that
WONDIE was residing at an apartment in the Capitol Hill neighborhood of Seattle near
Central College (hereinafter, the Capitol Hill apartment) and driving the Audi. KCSO
detectives obtained state search warrants for the Capitol Hill apartment and the Audi to
search for evidence of the murder.

13. Onor about December 6,.2018, HSI special agents participated in a joint
operation with KCSO as they were intending to execute the search warrants.

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COMPLAINT/WONDIE - 6 UNITED STATES ATTORNEY
MJ18-553 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
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Cc. Detention of WONDIE, Search Warrant Executed on WONDIE’s Vehicle,
and Capitol Hill Residence

14. At about 0900 hours, WONDIE was detained while sitting in the driver seat
of the Audi in Seattle. KCSO deputies conducted an officer safety pat down of WONDIE
and recovered the following:

17.02 grams of cocaine (field-tested positive);
67 Oxycodone prescription pills;

18 Adderall prescription pills;

5 % Xanax prescription pills.

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15. The prescription pills were contained in two unmarked bottles and a tied-
off plastic baggie. Furthermore, many of the pills were different versions of the same
drug. For example, there were multiple brands of Oxycodone-type medications.

16. During the search of WONDIE's vehicle, officers found what they believed
to be Xanax pills in the driver side coin holder and on the driver seat, suspected
mushrooms (psilocybin mushrooms) in the driver door pocket, approximately 1 pound of
processed marijuana in the glove box and scales.

17. Based on my training and experience, the quantities of controlled
substances possessed, the manner in which they were packaged (i.e., unmarked bottles
and/or baggies) and the presence of scales all indicate that these controlled substances
were possessed for distribution purposes, and not personal use.

18. After being advised of his Miranda rights, WONDIE stated to investigators
that his true residence was not the Capitol Hill apartment, as that residence was actually
occupied by his family. Rather, his true residence was 1311 12th Ave S #F401, Seattle,
Washington (hereinafter, WONDIE’s residence). WONDIE provided investigators the
key to his residence (which they later used in the door of the residence). WONDIE also

stated that he was the sole occupant of this residence.

COMPLAINT/WONDIE - 7 UNITED STATES ATTORNEY
MJ18-553 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
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19. | WONDIE was placed into custody for possession of a controlled substance
and transported to the KCSO office. Meanwhile, WONDIE’s vehicle was impounded by
SPD and transported to the SPD processing room pending a narcotic search warrant.

D. Interview of WONDIE
20. My knowledge of the information WONDIE relayed during this interview

is based upon the portions of the interview for which I was present, as well as statements
relayed to me by other interviewing officers. This interview occurred after WONDIE had

been given his Miranda warning and agreed to speak to law enforcement. Statements are

 

provided in substance and in part.

21. Initially, WONDIE was interviewed by KCSO homicide detectives. He
denied knowledge of the murder, the initial reason for contacting him and executing a
search warrant. However, as noted below, he did admit to possessing the suspected
murder weapon at a point in time. |

22. Thereafter, WONDIE was interviewed related to drug trafficking. This
interview was attended, in various phases, by myself, SSA Marco Dkane, SPD Officer
Nick Evans, and ATF SA Wozniak. Following the interview, SA Wozniak provided his
summary which relayed the following:

23. In response to questions, WONDIE stated that he was in possession of
narcotics in his apartment, WONDIE’s residence. WONDIE also stated there was a 9mm
pistol in his home. WONDIE stated that he derived his income, in part, from the sale of
narcotics to regular customers. WONDIE acknowledged that he has habitually distributed
narcotics in various areas and parks around Capitol Hill.

24. SA Wozniak asked WONDIE questions regarding his gang affiliations, —
narcotics business, association to violence, and possession of firearms, and received the
following information in response. WONDIE stated that he has grown up in the Seattle
area and is known to individuals who are part of the Malitia MaliMob, Rainier Vista, and

Holly Park criminal street gangs, though he did not admit to being a member of any of

COMPLAINT/WONDIE - 8 UNITED STATES ATTORNEY
MJ18-553 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
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those organizations. WONDIE did however state that he was aware of, and indeed
actively avoiding, the violence surrounding those gangs.

25. |WONDIE stated he has been distributing and using narcotics for years, and
cited two examples which suggest the duration of this activity. WONDIE detailed being
robbed at gunpoint by two males in Tukwila, approximately three years ago, during
which, narcotics and cash were taken from him. WONDIE then described being robbed
approximately a year and a half ago in West Seattle, again at gunpoint. During this
second robbery, the Smith and Wesson .40 caliber handgun he previously possessed was
allegedly stolen, according to WONDIE’s description of events. This is the weapon
which KCSO has linked through ballistic imaging to the homicide they are currently
investigating.

26. WONDIE described his narcotics business as predominantly pill-based,
though he also sells cocaine and marijuana. WONDIE stated he also habitually used
drugs, and was unable or unwilling to estimate the quantity of drugs he sold in any given
day or week. His clientele is largely known to him, however there are individuals he
deals with who occasionally make him feel uncomfortable. WONDIE stated he prefers to
arrange such deals in an open area, visible to the public to avoid being robbed. After the
second robbery he experienced, WONDIE told an individual known as “DZ” about the
incident. DZ offered WONDIE a 9mm handgun, which WONDIE purchased
approximately 18 months ago for $250.00. WONDIE described the firearm as a Ruger
9mm handgun, with a 30-round extended magazine, located in the nightstand drawer in
his bedroom. WONDIE also stated a small quantity of narcotics was located in a shoe
box in his closet.

27. |WONDIE stated he was afraid of being robbed of his drugs, and kept the
gun and maintained his concealed pistol license to protect his drug business from robbery
and theft. WONDIE stated when he conducted deals he sometimes carried the gun for
protection, and ensured it was readily accessible if circumstances arose which called for it

— such as near his seat in his vehicle. WONDIE denied being a violent person, but

COMPLAINT/WONDIE - 9 UNITED STATES ATTORNEY
MJ18-553 . 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
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acknowledged the firearm was there to dissuade or repel another robbery attempt and to
protect his person and residence. |

28. During the interview, WONDIE also stated something to the effect that he
thought he was in a lot of trouble, and wanted to just return back to Africa. It is my
understanding that WONDIE is a naturalized U.S. citizen, and that he does have family
ties to a country in Africa. |

E. Execution of Warrant on WONDIE’s Residence, Discovery of Firearm and
Drugs .

29. On December 6, 2018, investigators from HSI, SPD, and KCSO executed
two state search warrants on WONDIE’s residence. These two search warrants,
authorized by the Honorable King County Superior Court Judge Kristin Richardson,
authorized the seizure of evidence related to the homicide and to drug trafficking,
respectively. Prior to the execution of these warrants, WONDIE told investigators, under

Miranda, that he was the sole occupant of the residence.

 

30. I participated in this search and my knowledge of the items discovered is
based upon the combination of my personal observations and information provided to me
by other searching officers. The residence contained extensive evidence of drug
trafficking activity, to include the following:

a. From the spare bedroom, investigators discovered the following:

e A large pill press. This pill press appeared to be the same variety
described by both $1 and a Pfizer representative who provides expertise
to law enforcement on the kinds of pill presses used to make “Xanax”
tablets in bulk.

e Military body armor with serial numbers removed.

b. From the main bedroom investigators discovered:

e A Ruger P89DC 9mm handgun, serial number 309-80997, with a 30-
round extended-capacity magazine containing 22 bullets, along with a
standard magazine containing 8 bullets. The handgun was discovered in
the second drawer of the nightstand—as described by WONDIE during
his interviews.

COMPLAINT/WONDIE - 10 UNITED STATES ATTORNEY
MJ18-553 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
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e Approximately 11,000 white Xanax pills weighing approximately
3324.1 grams in several clear plastic bags found in the main bedroom’s
closet.

e 171 grams of powder cocaine found in the main bedroom’s closet.

e 152 syringes containing Butane Hash Oil (“BHO,” a cannabis/hash
product)

c. From the dining room table, investigators discovered a scale (based on my
training and experience, I know scales are often used by drug traffickers to
weigh drugs for sale).

d. Also located throughout the house (in the kitchen, dining area, and main
bedroom closet) a total of approximately 3800 grams of marijuana.

31. All drugs, with the exception of the pressed pills and the marijuana, were
identified via field test using a standard narcotics identification kit. The pills were
identified based on their markings. The marijuana was identified based on its appearance
and smell. Again, based on my training and experience, based on the quantities
recovered, the manner in which they were packaged, and the presence of the pill press
and a scale, the controlled substances recovered were consistent with drug distribution,
not personal use. Of course, WONDIE admitted as much post-Miranda.

32. In addition to the above, investigators discovered several documents
establishing dominion and control over the residence, to include leasing paperwork in
WONDIE’s name and schoolwork in WONDIE’s name. Further, the apartment had one
bed.

F. Use of Firearms in Drug Trafficking

33. Following the interview, ATF SA Wozniak provided the following
information based on his training and experience as both an ATF SA and, previously, a
police officer. I note this is consistent with my own training and experience:

The inherent illegality of the narcotics trade removes the protection by law

enforcement a law-abiding citizen enjoys. Drug traffickers cannot call the police to

protect their illegal enterprise without risking its exposure and confiscation, along

COMPLAINT/WONDIE - 11 UNITED STATES ATTORNEY
MJ18-553 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
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with their prosecution and imprisonment. Based on SA Wozniak’s training and
experience, he is aware it is common for drug dealers to possess firearms and
ammunition to protect their drugs, assets, and persons from hostile gangs, rival
traffickers, drug users, other criminals, and from law enforcement. The quantity of
narcotics/equipment possessed by WONDIE would be valued in the tens of
thousands, if not hundreds of thousands of dollars, and would expose him to the
potential for assault by drug users, rival dealers, rival gang members and other
criminals who were aware of the narcotics and currency he possessed, requiring
WONDIE to possess firearms to protect his criminal enterprise, as evidenced by
the Ruger firearm recovered.

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COMPLAINT/WONDIE - 12 UNITED STATES ATTORNEY
MJ18-553 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
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CONCLUSION

34. Based on the drugs recovered, WONDIE’s statements that he distributed
controlled substances and possessed a firearm to secure his drug trafficking, the
discovery of the gun in proximity to distribution-level amounts of illicit drugs, and the
other facts documented above, I respectfully submit there is probable cause that
GIZACHEW WONDIE committed the offense of possession with intent to distribute
controlled substances, in violation of Title 21, United States Code, Sections 841(a)(1),
841(b)(1)(B), (b)(1)(C) and (B)(1)(D) and that GZZACHEW WONDIE also possessed a
firearm in the commission of a drug trafficking offense in violation of 18 U.S.C. §

924(c).

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TAMMY SPE ue Complainant
Special Agent,\Homeland Security Investigations

Based on the Complaint and Affidavit, to which the above-named agent provided
a sworn statement attesting to the truth of the contents of such, the Court hereby finds
that there is probable cause to believe the Defendant committed the offense set forth in
the Complaint.

Dated this 7th day of December, 2018.

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The Honorable Paula L. McCandlis
United States Magistrate Judge

COMPLAINT/WONDIE - 13 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
MJ18-553 SEATTLE, WASHINGTON 98101
(206) 553-7970
